    Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 1 of 11 PageID #:244




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 J.R.                                                  )
                                                       ) Case No. 1:19-CV-8145
                        Plaintiff,                     )
                                                       ) Honorable Robert M. Dow
                        vs.                            )
                                                       ) Magistrate Judge Sidney I. Schenkier
 BOARD OF EDUCATION OF THE CITY                        )
 OF CHICAGO, LEGAL PREP CHARTER                        )
 ACADEMIES, et al.                                     )
                                                       )
                        Defendants.                    )

                          PARTIES’ CONFIDENTIALITY ORDER

        It is ORDERED:

   A party to this action has moved that the Court enter a confidentiality order. The Court has

determined that the terms set forth herein are appropriate to protect the respective interests of the

parties, the public, and the Court. Accordingly, it is ORDERED:

        1.     Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, videos, audio, deposition testimony and

exhibits, and information derived directly therefrom (hereinafter collectively “documents”), shall

be subject to this Order concerning Confidential Information as defined below. This Order is

subject to the Local Rules of this District and the Federal Rules of Civil Procedure on matters of

procedure and calculation of time periods. Nothing in this Order affects employees of Defendants

who are responsible for maintaining such documents and/or records in the ordinary course of the

business of Defendants.

        2.     Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by
    Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 2 of 11 PageID #:245




the producing party that falls within one or more of the following categories: (a) information

prohibited from disclosure by statute, including the Illinois Personnel Records Review Act, 820

ILCS 40/0.01, et seq., the Illinois Freedom of Information Act, 5 ILCS140/1, et seq., and the

Illinois School Student Records Act, 105 ILCS 10, et seq.; (b) information that reveals trade

secrets; (c) research, technical, commercial or financial information that the party has maintained

as confidential; (d) medical information concerning any individual; (e) personal identity

information, including, social security numbers, dates of birth, family information of current and

former employees of Defendants, and residential information of employees of Defendants; (f)

financial information, including income tax returns schedules and attachments; or (g) personnel or

employment records of a person who is not a party to the case. Such information includes, but is

not limited to, private information in personnel files, such as employment applications,

performance evaluations, tax forms, requests for medical leave, disciplinary, financial, benefits,

medical or other information that is of a sensitive or non-public nature regarding plaintiff,

defendants, non-party witnesses, and non-party employees of the Defendants.. Information or

documents that are available to the public may not be designated as Confidential Information.

Nothing in this order shall prevent parties from redacting certain identifying information, such as

social security numbers and dates of birth, prior to production.

       3.      Designation.

               (a)     A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” on the document and on all copies in a manner that will not interfere

with the legibility of the document. As used in this Order, “copies” includes electronic images,

duplicates, extracts, summaries or descriptions that contain the Confidential Information. The
   Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 3 of 11 PageID #:246




marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied prior to

or at the time of the documents are produced or disclosed. Applying the marking

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not mean that

the document has any status or protection by statute or otherwise except to the extent and for the

purposes of this Order. Any copies that are made of any documents marked “CONFIDENTIAL

- SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices, electronic

databases or lists of documents that do not contain substantial portions or images of the text of

marked documents and do not otherwise disclose the substance of the Confidential Information

are not required to be marked.

               (b)    A party may designate a document as Confidential Information only after

review of the document by an attorney or a party appearing pro se who has in good faith

determined that the document contains Confidential Information as defined in this order.

       4.      Depositions. Unless all parties agree on the record at the time the deposition

testimony is taken, all deposition testimony taken in this case shall be treated as Confidential

Information until the expiration of the following: No later than the fourteenth day after the

transcript is delivered to any party or the witness, and in no event later than 60 days after the

testimony was given. Within this time period, a party may serve a Notice of Designation to all

parties of record as to specific portions of the testimony that are designated Confidential

Information, and thereafter only those portions identified in the Notice of Designation shall be

protected by the terms of this Order. The failure to serve a timely Notice of Designation shall

waive any designation of testimony taken in that deposition as Confidential Information, unless

otherwise ordered by the Court

       5.      Protection of Confidential Material.
    Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 4 of 11 PageID #:247




               (a)       General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

(b) for any purpose whatsoever other than in this litigation, including any appeal thereof.

               (b)       Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any Confidential Information to any third person or

entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:

                     (1) Counsel. Counsel for the parties and employees of counsel who have
                         responsibility for the action;

                     (2) Parties. Individual parties and employees of a party but only to the extent
                         counsel determines in good faith that the employee’s assistance is
                         reasonably necessary to the conduct of the litigation in which the
                         information is disclosed;

                     (3) The Court and its personnel;

                     (4) Court Reporters and Recorders. Court reporters and recorders engaged for
                         depositions;

                     (5) Contractors. Those persons specifically engaged for the limited purpose
                         of making copies of documents or organizing or processing documents,
                         including outside vendors hired to process electronically stored documents;

                     (6) Consultants and Experts. Consultants, investigators, or experts employed
                         by the parties or counsel for the parties to assist in the preparation and trial
                         of this action but only after such persons have completed the certification
                         contained in Attachment A, Acknowledgment of Understanding and
                         Agreement to Be Bound;

                     (7) Witnesses at depositions. During their depositions, witnesses in this
                         action to whom disclosure is reasonably necessary. Witnesses shall not
                         retain a copy of documents containing Confidential Information, except
                         witnesses may receive a copy of all exhibits marked at their depositions in
                         connection with review of the transcripts. Pages of transcribed deposition
                         testimony or exhibits to depositions that are designated as Confidential
                         Information pursuant to the process set out in this Order must be separately
                         bound by the court reporter and may not be disclosed to anyone except as
                         permitted under this Order;
    Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 5 of 11 PageID #:248




                     (8) Author or recipient. The author or recipient of the document (not including
                         a person who received the document in the course of litigation); and

                     (9) Insurers. The Parties’ insurers, and any employees, agents and/or
                         representatives of the parties’ insurers to the extent counsel determines in
                         good faith that the disclosure of Confidential Information is reasonably
                         necessary to the conduct and/or settlement of the litigation; and

                     (9) Others by Consent. Other persons only by written consent of the producing
                         party or upon order of the Court and on such conditions as may be agreed
                         or ordered.

               (c)      Control of Documents. Counsel for the parties shall make reasonable

 efforts to prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel

 shall maintain the originals of the forms signed by persons acknowledging their obligations under

 this Order for a period of three years after the termination of the case.

       6.       Inadvertent Failure to Designate.            An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for

deposition testimony. If a party designates a document as Confidential Information after it was

initially produced, the receiving party, on notification of the designation, must make a reasonable

effort to assure that the document is treated in accordance with the provisions of this Order. No

party shall be found to have violated this Order for failing to maintain the confidentiality of

material during a time when that material has not been designated Confidential Information, even

where the failure to so designate was inadvertent and where the material is subsequently

designated Confidential Information.

        7.      Filing of Confidential Information. This Order does not, by itself, authorize

 the filing of any document under seal. Any party wishing to file a document designated as
    Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 6 of 11 PageID #:249




 Confidential Information in connection with a motion, brief or other submission to the Court

 must comply with LR 26.2.

        8.      No Greater Protection of Specific Documents. Except on privilege grounds

 not addressed by this Order, no party may withhold information from discovery on the ground

 that it requires protection greater than that afforded by this Order unless the party moves for an

 order providing such special protection. Nothing in this Protective Order shall be deemed a

 waiver of any party’s right to timely object to the discovery requests on any proper grounds.

        9.      Challenges by a Party to Designation as Confidential Information. The

 designation of any material or document as Confidential Information is subject to challenge by

 any party. The following procedure shall apply to any such challenge.

               (a)    Meet and Confer. A party challenging the designation of Confidential

 Information must do so in good faith and must begin the process by conferring directly with

 counsel for the designating party. In conferring, the challenging party must explain the basis for

 its belief that the confidentiality designation was not proper and must give the designating party

 an opportunity to review the designated material, to reconsider the designation, and, if no change

 in designation is offered, to explain the basis for the designation. The designating party must

 respond to the challenge within five (5) business days.

               (b)    Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party. Until the Court rules on the challenge, all parties shall continue to treat the
    Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 7 of 11 PageID #:250




materials as Confidential Information under the terms of this Order.

        10.     Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or

any action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

        11.     Use of Confidential Documents or Information at Trial. Nothing in this

Order shall be construed to affect the use of any document, material, or information at any trial

or hearing. A party that intends to present or that anticipates that another party may present

Confidential Information at a hearing or trial shall bring that issue to the Court’s and parties’

attention by motion or in a pretrial memorandum without disclosing the Confidential Information.

The Court may thereafter make such orders as are necessary to govern the use of such documents

or information at trial.

        12.   Confidential Information Subpoenaed or Ordered Produced in Other
        Litigation.

                (a)        If a receiving party is served with a subpoena or an order issued in other

 litigation that would compel disclosure of any material or document designated in this action as

 Confidential Information, the receiving party must so notify the designating party, in writing,

 immediately and in no event more than three court days after receiving the subpoena or order.

 Such notification must include a copy of the subpoena or court order.

                (b)        The receiving party also must immediately inform in writing the party who

 caused the subpoena or order to issue in the other litigation that some or all of the material

 covered by the subpoena or order is the subject of this Order. In addition, the receiving party

 must deliver a copy of this Order promptly to the party in the other action that caused the

 subpoena to issue.
    Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 8 of 11 PageID #:251




               (c)     The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the party has in its possession,

custody or control Confidential Information by the other party to this case.

       13.     Challenges by Members of the Public to Sealing Orders. A party or interested

member of the public has a right to challenge the sealing of particular documents that have been

filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

       14.     Unauthorized Disclosure of Protected Material. If a party learns that, by

inadvertence or otherwise, it has disclosed material designated as confidential per this Order to

any person or in any circumstance not authorized under this Order, that party must immediately

(a) notify in writing the designating party about the unauthorized disclosure(s), (b) use its best

efforts to retrieve all unauthorized copies of the confidential material, (c) inform the person(s) to

whom the unauthorized disclosures were made of all the terms of this Order, and (d) request such

person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is attached

hereto as Exhibit A.

       15.     Inadvertent Production of Privileged or Otherwise Protected Material. When

a party gives notice to the other party that certain inadvertently produced material is subject to a
    Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 9 of 11 PageID #:252




claim of privilege and/or other protection, the obligations of both parties are those set forth in

Federal Rule of Civil Procedure 26(b)(5)(B).

               (a)     Procedures. The following procedures shall apply to any challenge under

Paragraph 15 of this Order:

                       (1)       Meet and Confer. A party challenging the assertion of privilege or

other protection must do so in good faith and must begin the process by conferring directly with

counsel for the asserting party. In conferring, the challenging party must explain the basis for its

belief that the privilege and/or protection assertion was not proper and must give the asserting

party an opportunity to review the material, to reconsider the assertion, and, if no change in

assertion is offered, to explain the basis thereto. The asserting party must respond to the challenge

within five (5) business days.

                       (2)       Judicial Intervention. A party that elects to challenge a privilege

and/or protection assertion may file and serve a motion that identifies the challenged material and

sets forth in detail the basis for the challenge. Each such motion must be accompanied by a

competent declaration that affirms that the movant has complied with the meet and confer

requirements of this procedure. The burden of persuasion in any such proceeding shall be on the

party who asserted the privilege and/or protection. Until the Court rules on the challenge, all

parties shall continue to treat the materials as privileged and/or protected under the terms of this

Order.

               (b)     E-discovery. Paragraph 15 is not intended to modify whatever procedures

may be established in an e-discovery order pursuant to Federal Rule of Evidence 502 between the

parties regarding the inadvertent disclosure of privileged and/or protected Electronically Stored

Information (ESI). Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the parties
   Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 10 of 11 PageID #:253




reach an agreement on the effect of disclosure of a communication or information covered by the

attorney-client privilege or work product protection, the parties may incorporate that agreement in

an appropriate e-discovery order to the Court.

       16.     Obligations on Conclusion of Litigation.

               (a)    Order Continues in Force. Unless otherwise agreed or ordered, this Order

 shall remain in force after dismissal or entry of final judgment not subject to further appeal.

               (b)     Obligations at Conclusion of Litigation. Within sixty-three days after

 dismissal or entry of final judgment not subject to further appeal, all Confidential Information

 and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” under this

 Order, including copies as defined in ¶ 3(a), shall be returned to the producing party unless: (1)

 the document has been offered into evidence or filed without restriction as to disclosure; (2) the

 parties agree to destruction to the extent practicable in lieu of return; or (3) as to documents

 bearing the notations, summations, or other mental impressions of the receiving party, that party

 elects to destroy the documents and certifies to the producing party that it has done so.

               (c)     Retention of Work Product and one set of Filed Documents.

 Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

 attorney work product, including an index that refers or relates to designated Confidential

 Information so long as that work product does not duplicate verbatim substantial portions of

 Confidential Information, and (2) one complete set of all documents filed with the Court

 including those filed under seal. Any retained Confidential Information shall continue to be

 protected under this Order. An attorney may use his or her work product in subsequent litigation,

 provided that its use does not disclose or use Confidential Information.

               (d)      Deletion of Documents filed under Seal from Electronic Case Filing
   Case: 1:19-cv-08145 Document #: 50 Filed: 06/09/20 Page 11 of 11 PageID #:254




(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the

Court. Any Party that wishes to have a filing under seal deleted shall be responsible for filing a

Motion to that effect.

       17.      Order Subject to Modification. This Order shall be subject to modification by

the Court on its own initiative or on motion of a party or any other person with standing concerning

the subject matter.

       18.      No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court

may rule on a specific document or issue.

       19.      Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

        So Ordered.
        Dated: 6/9/20                         ____________________________
                                              U.S. District Judge
